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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                  CRIMINAL 05-0235CCC
 1) OMAR MARRERO-CRUZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 2) CARLOS OLIVERAS-GONZALEZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 3) SAMUEL BRISTOL-MARTIR
 (Counts 1, 6, 7, 8, 9, 10)
 4) ALVIN FLORES-BOSQUEZ
 (Counts 1, 6, 7, and 8)
 5) FRANCISCO SANTIAGO-ALBINO
 (Counts 1, 9 and 10)
 6) JAMILL AGUILA-BARRIOS
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 Defendants
                                         ORDER
       Before the Court is defendant Francisco Santiago-Albino’s Motion Requesting Arrest of
Judgment, New Trial, Judgment Notwithstanding the Verdict and Other Matters filed on May
1, 2006 (docket entry 273), which is essentially based on claims already rejected by the
Court and which are likewise rejected now for the reasons stated in the Court’s Orders dated
April 11, 2006 (docket entry 263)–containing a full discussion on an alleged speedy trial
violation stemming from delays during trial and jury deliberations; May 1, 2006 (docket entry
271)–regarding the claims that the newly constituted jury could not deliberate as to co-
defendant Omar Marrero-Cruz; and May 2, 2006 (docket entry 274)–addressing the
misconduct of a juror who was replaced for conducting outside research and the incident
concerning movant’s spouse.
       Movant’s additional ground that no reasonable jury could have found him guilty lacks
merit. The jury was able to view the video submitted by the government in its case-in-chief, and
considered the testimony of Agent Canino and of defendant Santiago-Albino, adjudicating
credibility issues regarding defendant’s mere presence claim against him.
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      Accordingly, movant’s Motion Requesting Arrest of Judgment, New Trial, Judgment
Notwithstanding the Verdict and Other Matters (docket entry 273) is DENIED.
      SO ORDERED.
      At San Juan, Puerto Rico, on June 8, 2006.


                                              S/CARMEN CONSUELO CEREZO
                                              United States District Judge
